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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE



In re:                                                          Chapter 7

ARMSTRONG FLOORING, INC., et al.,                               Case No. 22-10426 (MFW)

                                   Debtors. 1                   (Jointly Administered)
                                                                Related Docket No. 1525


    CERTIFICATION OF COUNSEL REGARDING PLAINTIFF’S TENTH NOTICE OF
      SETTLEMENT OF POTENTIAL AVOIDANCE ACTIONS AND AVOIDANCE
          ACTIONS PURSUANT TO SETTLEMENT PROCEDURES ORDER

                    The undersigned counsel for Alfred T. Giuliano, chapter 7 trustee (the “Trustee”

or “Plaintiff”) for the estates of the above-captioned debtors (the “Debtors”) hereby certifies as

follows:

          1.        On November 7, 2022, the Debtors filed the Motion for Approval of Procedures

Regarding Settlements of Avoidance Claims Pursuant to Bankruptcy Rule 9019(b) [D.I. 962] (the

“Motion”). 2

          2.        On November 21, 2022, this Court entered the Order on Motion for Approval of

Procedures Regarding Settlements of Avoidance Claims Pursuant to Bankruptcy Rule 9019(b),

[D.I. 1005] (the “Settlement Procedures Order”).

          3.        The Settlement Procedures Order authorized the Debtors to propose settlements of

avoidance actions involving gross transfers of $750,000 or less by filing a Notice of Settlement

with the Court, and for the entry of an approval order upon the expiration of the notice period

1
     The Debtors in these chapter 7 cases, along with the last four digits of their respective tax identification
     numbers, are as follows: Armstrong Flooring, Inc. (3305); AFI Licensing LLC (3265); Armstrong Flooring
     Latin America, Inc. (2943); and Armstrong Flooring Canada Ltd. (N/A). .
2
    All capitalized terms used but not defined herein shall have the same meaning as ascribed to them in the Motion.



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without further hearing, unless a timely objection is filed to such Notice of Settlement. The

Settlement Procedures Order further provides that a Notice of Settlement may include multiple

settlements in one notice, and for an objection deadline of ten (10) days from the date of filing

the Notice of Settlement.

          4.        On April 17, 2023, the Court converted the Debtors’ chapter 11 cases to ones

under chapter 7 of the Bankruptcy Code (the “Conversion Order”) (D.I. 1351).

          5.        In accordance with the Settlement Procedures Order, on June 26, 2024, the

Trustee filed the Plaintiff’s Tenth Notice of Settlement of Potential Avoidance Actions and

Avoidance Actions Pursuant to Settlement Procedures Order [D.I. 1525].                The Proposed

Settlement transactions are listed on Exhibit A to the Notice of Settlement. Pursuant to the

Settlement Procedures Order, objections were to be filed and served no later than July 8, 2024, at

4:00 p.m. (prevailing Eastern Time). No objections were filed or received by counsel to the

Notice of Settlement.

          6.        Pursuant to the Settlement Procedures Order, a proposed form of order is attached

hereto as Exhibit 1.




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                    WHEREFORE, the Trustee respectfully requests that the Court enter the

proposed order attached hereto as Exhibit 1 at its earliest convenience.



Dated: August 6, 2024                    PACHULSKI STANG ZIEHL & JONES LLP


                                         /s/ Peter J. Keane__________________
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                                       EXHIBIT 1

                                         Order




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE



In re:                                                           Chapter 7

ARMSTRONG FLOORING, INC., et al.,                                Case No. 22-10426 (MFW)

                                     Debtors. 1                  (Jointly Administered)
                                                                 Related Docket No. 1525


         ORDER APPROVING TENTH NOTICE OF SETTLEMENT OF POTENTIAL
           AVOIDANCE ACTIONS AND AVOIDANCE ACTIONS PURSUANT TO
                      SETTLEMENT PROCEDURES ORDER

          Upon consideration of the Plaintiff’s Tenth Notice of Settlement of Potential Avoidance

Actions and Avoidance Actions Pursuant to Settlement Procedures Order [D.I. 1525] (the

“Notice”); 2 upon the record; and the Court finding that (i) the Court has jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334, (ii) venue is proper in this District pursuant to 28

U.S.C. §§ 1408 and 1409, and (iii) this is a core proceeding pursuant to 28 U.S.C. § 157(b); and

the Court having determined that adequate notice of the Notice was given; and that sufficient

legal and factual bases exist for the relief requested in the Notice; and after due deliberation, the

Court having determined that the relief requested in the Notice is in the best interest of the

Debtors’ estates and their creditors; and good and sufficient cause having been shown; it is

hereby ORDERED that:

          1.        The settlements of Avoidance Actions against the Defendants listed on the Notice

are APPROVED;


1 The Debtors in these chapter 7 cases, along with the last four digits of their respective tax identification
numbers, are as follows: Armstrong Flooring, Inc. (3305); AFI Licensing LLC (3265); Armstrong
Flooring Latin America, Inc. (2943); and Armstrong Flooring Canada Ltd. (N/A). .
2
    Capitalized terms not otherwise defined herein shall have the same meanings ascribed to them in the Motion.


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          2.        The Court shall retain jurisdiction with respect to all matters arising from or

related to the interpretation, implementation or enforcement of this Order.




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